     8:16-cv-01032-DCC        Date Filed 04/19/19       Entry Number 264       Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                         ANDERSON/GREENWOOD DIVISION

W.S.,                                     )    Case No.: 16-cv-01032-DCC
                                          )
              Plaintiff,                  )
                                          )
v.                                        )
                                          ) Defendants’ Motion to Seal Document
Cassandra Daniels, Ursula Best, and South )
Carolina Department of Social Services,   )
                                          )
              Defendants.                 )

W.S.,                                     )           Case No.: 16-cv-01280-DCC
                                          )
              Plaintiff,                  )
                                          )
v.                                        )
                                          )
Cassandra Daniels, Ursula Best, and South )
Carolina Department of Social Services,   )
                                          )
              Defendants.                 )

        Defendants file this Motion to Seal and seeks guidance from the Court on the

appropriateness of sealing the following documents:

        (1) Defendants’ Motion for Judgment Notwithstanding the Verdict and Motion to Alter or
            Amend a Judgment; Memorandum in Support of Defendants’ Motion for Judgment
            Notwithstanding the Verdict and Motion to Alter or Amend a Judgment; and Exhibit
            and Exhibit 1.

        (2) Defendants’ Response to Plaintiff’s Motion for Attorney’s Fees, Costs and Expenses
            and Exhibit.

        Defendants will submit these documents to chambers and Plaintiff’s counsel via email

upon filing this Motion and await guidance on the filing of these documents.

        Respectfully submitted,

                                            LOGAN & JOLLY, LLP

                                                  s/James W. Logan, Jr.
                                            James W. Logan, Jr. (#2712)
                                            PO Box 259
     8:16-cv-01032-DCC   Date Filed 04/19/19   Entry Number 264     Page 2 of 2



                                     Anderson, SC 29622
April 19, 2019                       Attorneys for the Defendants
